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OF TEXAS



NO. AP-75,952




EX PARTE OLIVER WENDELL HART, III, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 04F0275-005 IN THE 5TH DISTRICT COURT
FROM BOWIE COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of manufacture of
a controlled substance and sentenced to thirty years’ imprisonment. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his counsel rendered ineffective assistance because he failed to
advise him of his right to file an appeal. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined that trial counsel failed to advise Applicant of his right to
appeal and failed to file notice of appeal on Applicant’s behalf.  We find, therefore, that Applicant
is entitled to the opportunity to file an out-of-time appeal of the judgment of conviction in Cause No.
04F0275-005 from the 5th Judicial District Court of Bowie County.  Applicant is ordered returned
to that time at which he may give a written notice of appeal so that he may then, with the aid of
counsel, obtain a meaningful appeal.  All time limits shall be calculated as if the sentence had been
imposed on the date on which the mandate of this Court issues.  We hold that, should Applicant
desire to prosecute an appeal, he must take affirmative steps to file a written notice of appeal in the
trial court within 30 days after the mandate of this Court issues.
&nbsp;
Delivered: June 25, 2008
Do Not Publish


